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or work with me, which would severely curtail my ability to perfonn new research and produce

new work on gender studies issues.

        5.        Ms. Guillard·s false statement about me have caused severe mental distress. r have

been unable to sleep since the false statements were first made, and I now take over the counter

sleep aids. I cry often and am seeking therapy to help me cope with this emotional distress. My

distress has been compounded by hate mail from individuals that believe the false statements made

about me. I have also heard from colleagues and students that their family members have discussed

the statements with them. The questioning of my character has been deeply hurtful. I feel shame

and humiliation at having been associated with such horrifc crimes. These impacts were

unanticipated for me as someone who strives to maintain a professional reputLon for high-quality

work, and they have been significant and lasting. Ms. Guillard's continuing false statements

despite my attempts, through counsel, to get her to stop amplify my mental distress. As an

academic who relies on research and facts, it is particularly distressing that she has persisted with

no facts to support her position and in the face of clear facts to the contrary.

        6.        J\s a member of the University of Idaho community, ram a1so distressed by Ms.

Guillard's attempts to profit, even through false publicity, from the tragedy that has impacted

people I sec every day.

        7.        I also fear for the safety of my family and myself. Because of my work on gender

studies and LGI3TQ+ issues, my work is particularly vulnerable to ad hominem attacks related to

Ms. Guillard' s false statements. Some members of anti-education groups oppose my employment

at a public institution. Ms. Guillard's homophobic rhetoric and highlighting of my research

augments that opposition. and I worry her false statements may prompt somebody to take violent

action either in opposition to my work or because they believe I am a predator. I have spent



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